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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.,

                       Plaintiff,

       v.                                         No. 1:17-cv-11008

CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and
HOSPIRA, INC.

                       Defendants.



            ASSENTED-TO MOTION FOR LEAVE TO EXCEED PAGE LIMITS

       Pursuant to Local Rule 7.1(b)(4), Defendants Celltrion Healthcare Co., Ltd., Celltrion,

Inc., and Hospira, Inc. (collectively “Defendants”) hereby move this Court for leave to exceed

the Court’s twenty-page limit by two additional pages for their Opposition to Plaintiff’s Motion

for Summary Judgment on the Issue of Non-Infringing Alternatives [Dkt 245]. Defendants

submit that the additional pages are necessary to allow them to fully address all of the issues

raised in Plaintiff’s Motion for Summary Judgment. Janssen assents to this Motion.

       WHEREFORE, Plaintiff Janssen Biotech, Inc. and Defendants Celltrion Healthcare Co.,

Ltd., Celltrion, Inc., and Hospira Inc. respectfully request that this Court allow this Motion.
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Dated: May 25, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

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                                                Attorneys for Defendants Celltrion Healthcare
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                                 LR 7.1(a)(2) CERTIFICATION

       I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s
counsel regarding this motion; Plaintiff assents to this Motion.

                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on May 25,
2017.

                                               /s/Andrea L. Martin, Esq.
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4812-9940-0039.1




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